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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

ORGANIZED VILLAGE OF KAKE, et            )
al.,                                     )
                                         )
               Plaintiff(s),             )
                                         )       Case No.: 2020-cv-00011-SLG
v.                                       )
                                         )
KEVIN SHEA, in his official capacity as  )
Acting Secretary of Agriculture, et al., )
                                         )
               Defendant(s).             )
                                         )
and                                      )
                                         )       STATE OF ALASKA'S
STATE OF ALASKA,                         )       ANSWER TO COMPLAINT
                                         )
          Intervenor-Defendant_________ )

        The State of Alaska (State), responds to Plaintiffs' Complaint for Declaratory and

 Injunctive Relief (Doc. No. 1) as follows:

                                       INTRODUCTION

        1.     Paragraph 1 consists of a summary of the claims and assertions of

 Plaintiffs’ Complaint, which are responded to below and to which no separate response is
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required. To the extent that a response is deemed necessary, the State denies every

allegation not specifically admitted below.

        2.     The State denies the allegations in Paragraph 2.

        3.     The State denies the allegations in Paragraph 3.

        4.     Paragraph 4 asserts legal conclusions to which no response is required;

 however, to the extent that a response is necessary, the State denies the allegations.

        5.     The State denies the allegations in Paragraph 5.

        6.     The State denies the allegations in Paragraph 6.

        7.     Paragraph 7 consists of a summary of the prayers for relief and parties of

 Plaintiffs’ Complaint, which are responded to below and to which no separate response is

 required. To the extent that a response is deemed necessary, the State denies every

 allegation not specifically admitted below.

                     JURISDICTION, RIGHT OF ACTION, AND VENUE

        8.     Paragraph 8 asserts legal conclusions to which no response is required;

 however, to the extent that a response is necessary, the State denies the allegations.

        9.     Paragraph 9 asserts legal conclusions to which no response is required;

 however, to the extent that a response is necessary, the State denies the allegations.

                                       THE PARTIES

        The Plaintiffs

        10.    The State has insufficient information to form a belief as to the truth of the

 allegations of Paragraph 10 and, therefore, denies the same.


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       11.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 11 and, therefore, denies the same.

       12.    The State has insufficient information to form a belief as to the truth of

the allegations of Paragraph 12 and, therefore, denies the same.

       13.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 13 and, therefore, denies the same.

       14.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 14 and, therefore, denies the same.

       15.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 15 and, therefore, denies the same.

       16.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 16 and, therefore, denies the same.

       17.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 17 and, therefore, denies the same.

       18.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 18 and, therefore, denies the same.

       19.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 19 and, therefore, denies the same.

       20.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 20 and, therefore, denies the same.




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      21.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 21 and, therefore, denies the same.

      22.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 22 and, therefore, denies the same.

      23.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 23 and, therefore, denies the same.

      24.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 24 and, therefore, denies the same.

      25.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 25 and, therefore, denies the same.

      26.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 26 and, therefore, denies the same.

      27.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 27 and, therefore, denies the same.

      28.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 28 and, therefore, denies the same.

      29.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 29 and, therefore, denies the same.

      30.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 30 and, therefore, denies the same.




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       31.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 31 and, therefore, denies the same.

       32.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 32 and, therefore, denies the same.

       33.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 33 and, therefore, denies the same. Paragraph 33 asserts legal

conclusions to which no response is required; however, to the extent that a response is

necessary, the State denies the allegations.

       34.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 34 and, therefore, denies the same. Paragraph 34 asserts legal

conclusions to which no response is required; however, to the extent that a response is

necessary, the State denies the allegations.

       The Defendants

       35.    The State admits the allegations in Paragraph 35.

       36.    The State admits the allegations in Paragraph 36.

       37.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 37 and, therefore, denies the same.

       38.    The State admits the allegations in Paragraph 38.




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                             FACTUAL BACKGROUND

The Tongass National Forest

      39.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 39 and, therefore, denies the same.

      40.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 40 and, therefore, denies the same.

      41.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 41 and, therefore, denies the same.

      42.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 42 and, therefore, denies the same.

      43.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 43 and, therefore, denies the same.

      44.    The State denies the allegations in Paragraph 44.

      45.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 45 and, therefore, denies the same.

      46.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 46 and, therefore, denies the same.

      47.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 47 and, therefore, denies the same.

      48.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 48 and, therefore, denies the same.


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       49.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 49 and, therefore, denies the same.

       50.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 50 and, therefore, denies the same.

       51.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 51 and, therefore, denies the same.

       52.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 52 and, therefore, denies the same.

       53.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 53 and, therefore, denies the same.

       54.    Paragraph 54 purports to characterize provisions of the FEIS, which speaks

for itself and is the best evidence of its contents; as such, the State denies every allegation

in Paragraph 54 not consistent therewith.

The Roadless Rule and the 2016 Tongass Plan

       55.     The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 55 and, therefore, denies the same.

       56.    Paragraph 56 purports to characterize provisions of the DEIS for the

Roadless Rule, FEIS for the Roadless Rule, and comments for the Roadless Rule which

speak for themselves and are the best evidence of their contents; as such, the State denies

every allegation in Paragraph 56 not consistent therewith.




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       57.    Paragraph 57 purports to characterize and quote from provisions of the

Federal Register, which speak for themselves and are the best evidence of their contents;

as such, the State denies every allegation in Paragraph 57 not consistent therewith. The

State denies the last sentence of Paragraph 57.

       58.    The State denies the allegations in Paragraph 58.

       59.    Paragraph 59 purports to characterize provisions of the Federal Register

and a court case, which speak for themselves and are the best evidence of their

contents; as such, the State denies every allegation in Paragraph 59 not consistent

therewith.

       60.    Paragraph 60 purports to characterize and quote provisions of the Tongass

Plan ROD, which speak for themselves and are the best evidence of their contents; as

such, the State denies every allegation in Paragraph 60 not consistent therewith.

       61.    Paragraph 61 purports to characterize provisions of the Tongass Forest

Plan, which speak for themselves and are the best evidence of their contents; as such, the

State denies every allegation in Paragraph 61 not consistent therewith. Paragraph 61

asserts legal conclusions to which no response is required; however, to the extent that a

response is necessary, the State denies the allegations.

       62.    Paragraph 62 purports to characterize provisions of the Tongass Forest

Plan, which speak for themselves and are the best evidence of their contents; as such, the

State denies every allegation in Paragraph 62 not consistent therewith.

       63.    The State has insufficient information to form a belief as to the truth of the


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allegations of Paragraph 63 and, therefore, denies the same.

       64.    Paragraph 64 purports to characterize and quote provisions of the Tongass

Forest Plan FEIS, which speak for themselves and are the best evidence of their contents;

as such, the State denies every allegation in Paragraph 64 not consistent therewith.

       65.    Paragraph 65 purports to characterize provisions of the Tongass Forest

Plan, which speak for themselves and are the best evidence of their contents; as such, the

State denies every allegation in Paragraph 65 not consistent therewith. The State has

insufficient information to form a belief as to the truth of the allegations of Paragraph 65

and, therefore, denies the same.

       66.     Paragraph 66 purports to characterize provisions of the Federal Register, a

court case, and the Tongass Forest Plan, which speak for themselves and are the best

evidence of their contents; as such, the State denies every allegation in Paragraph 66 not

consistent therewith.

       67.    Paragraph 67 purports to characterize provisions of the State's Petition,

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 67 not consistent therewith.

       68.    Paragraph 68 purports to characterize provisions of the DEIS for the 2020

Tongass Exemption Rule, which speak for themselves and are the best evidence of their

contents; as such, the State denies every allegation in Paragraph 68 not consistent

therewith.

       69.    The State admits the allegations in Paragraph 69.


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       70.    Paragraph 70 purports to characterize provisions of the Forest Service

Grant and Inspection Report, which speak for themselves and are the best evidence of

their contents; as such, the State denies every allegation in Paragraph 70 not consistent

therewith. The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 70 and, therefore, denies the same.

       71.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 71 and, therefore, denies the same.

       72.     The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 72 and, therefore, denies the same.

       73.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 73 and, therefore, denies the same.

       74.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 74 and, therefore, denies the same.

       75.    Paragraph 75 purports to characterize provisions of the FEIS, which speak

for themselves and are the best evidence of their contents; as such, the State denies every

allegation in Paragraph 75 not consistent therewith.

       76.    Paragraph 76 purports to characterize provisions of the FEIS and DEIS

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 76 not consistent therewith. The State has

insufficient information to form a belief as to the truth of the allegations of Paragraph 76

and, therefore, denies the same.


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       77.    The State denies the allegations in Paragraph 77.

       78.    Paragraph 78 purports to characterize provisions of the FEIS, which speak

for themselves and are the best evidence of their contents; as such, the State denies every

allegation in Paragraph 78 not consistent therewith.

       79.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 79 and, therefore, denies the same.

       80.    Paragraph 80 purports to characterize provisions of the Federal Register,

which speaks for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 80 not consistent therewith.

       81.    The State denies the allegations in Paragraph 81.

                                CLAIMS FOR RELIEF

                                        COUNT I
                                 (Violation of ANILCA)

       82.    The State incorporates by reference its responses to all preceding

paragraphs.

       83.    Paragraph 83 purports to characterize and quote provisions of ANILCA,

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 83 not consistent therewith.

       84.    Paragraph 84 purports to characterize and quote provisions of ANILCA,

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 84 not consistent therewith.



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       85.    Paragraph 85 purports to characterize and quote provisions of ANILCA,

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 85 not consistent therewith.

       86.    Paragraph 86 purports to characterize and quote provisions of ANILCA,

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 86 not consistent therewith.

       87.    Paragraph 87 purports to characterize provisions of ANILCA, which speak

for themselves and are the best evidence of their contents; as such, the State denies every

allegation in Paragraph 87 not consistent therewith.

       88.    Paragraph 88 purports to characterize and quote provisions of ANILCA,

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 88 not consistent therewith.

       89.    The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 89 and, therefore, denies the same.

       90.    Paragraph 90 asserts legal conclusions to which no response is required;

however, to the extent that a response is necessary, the State denies the allegations. The

State has insufficient information to form a belief as to the truth of the allegations of

Paragraph 90 and, therefore, denies the same.

       91.    Paragraph 91 asserts legal conclusions to which no response is required;

however, to the extent that a response is necessary, the State denies the allegations.




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       92.    Paragraph 92 purports to characterize and quote provisions of the ROD,

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 92 not consistent therewith.

       93.    The State denies the allegations in Paragraph 93.

       94.    Paragraph 94 purports to characterize provisions of the ROD, which speak

for themselves and are the best evidence of their contents; as such, the State denies every

allegation in Paragraph 94 not consistent therewith.

       95.    The State denies the allegations in Paragraph 95.

       96.    The State denies the allegations in Paragraph 96.

       97.    The State denies the allegations in Paragraph 97.

                                     COUNT II
                      (Arbitrary and capricious decisionmaking)

       98.    The State incorporates by reference its responses to all preceding

paragraphs.

       99.    Paragraph 99 asserts legal conclusions to which no response is required;

however, to the extent that a response is necessary, the State denies the allegations.

       100.   The State denies the allegations in Paragraph 100. If "amending the

Roadless Rule" refers to the 2020 Tongass Exemption Rule, the State avers that the 2020

Tongass Exemption Rule complies with any applicable law.

       101.   Paragraph 101 purports to characterize and quote provisions of the ROD,

which speak for themselves and are the best evidence of their contents; as such, the State



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denies every allegation in Paragraph 101 not consistent therewith. The State denies the

last sentence of Paragraph 101.

       102.   Paragraph 102 purports to characterize provisions of the FEIS, which speak

for themselves and are the best evidence of their contents; as such, the State denies every

allegation in Paragraph 102 not consistent therewith.

       103.   The State denies the allegations in Paragraph 103.

       104.   Paragraph 104 purports to characterize and quote provisions of the FEIS,

which speak for themselves and are the best evidence of their contents; as such, the State

denies every allegation in Paragraph 104 not consistent therewith.

       105.   Paragraph 105 purports to characterize and quote provisions of the

regulations, the Federal Register, and FEIS, which speak for themselves and are the best

evidence of their contents; as such, the State denies every allegation in Paragraph 105 not

consistent therewith. The State denies any remaining allegations in Paragraph 105.

       106.   The State has insufficient information to form a belief as to the truth of the

allegations of Paragraph 106 and, therefore, denies the same.

       107.   The State denies the allegations in Paragraph 107.

       108.   The State denies the allegations in Paragraph 108.

                                     COUNT III
              (Failure to Consider a Range of Reasonable Alternatives)

       109.   The State incorporates by reference its responses to all preceding

paragraphs.



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       110.   Paragraph 110 asserts legal conclusions to which no response is required;

however, to the extent that a response is necessary, the State denies the allegations.

       111.   Paragraph 111 asserts legal conclusions to which no response is required;

however, to the extent that a response is necessary, the State denies the allegations.

       112.   Paragraph 112 purports to characterize provisions of the FEIS, which speak

for themselves and are the best evidence of their contents; as such, the State denies every

allegation in Paragraph 112 not consistent therewith.

       113.   The State denies the allegations in Paragraph 113.

       114.   The State denies the allegations in Paragraph 114.

       115.   The State denies the allegations in Paragraph 115.

       116.   The State denies the allegations in Paragraph 116.

                                      COUNT IV
                              (Arbitrary analysis of effects)

       117.   The State incorporates by reference its responses to all preceding

paragraphs.

       118.   Paragraph 118 asserts legal conclusions to which no response is required;

however, to the extent that a response is necessary, the State denies the allegations.

       119.   Paragraph 119 asserts legal conclusions to which no response is required;

however, to the extent that a response is necessary, the State denies the allegations.

       120.   The State denies the allegations in Paragraph 120.

       121.   The State denies the allegations in Paragraph 121.



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          122.   The State denies the allegations in Paragraph 122.

          123.   The State denies the allegations in Paragraph 123.

          124.   The State denies the allegations in Paragraph 124.

          125.   The State denies the allegations in Paragraph 125.

          126.   The State denies the allegations in Paragraph 126.

                            PLAINTIFFS' PRAYER OF RELIEF

          The remainder of Plaintiffs’ Complaint consists of Plaintiffs’ prayer for relief, to

which no response is required. Insofar as a response is required, the State denies that

Plaintiffs are entitled to any relief whatsoever.

                                     GENERAL DENIAL

          The State hereby denies all allegations, whether express or implied, including any

allegations reflected in section heading, in Plaintiffs’ Complaint not specifically admitted

herein.

                                 AFFIRMATIVE DEFENSES

          1.     Plaintiffs’ Complaint fails to state a claim upon which relief can be granted.

          2.     Plaintiffs may lack standing to assert the causes of action contained in

Plaintiffs’ Complaint.

          3.     Plaintiffs’ Complaint may be barred one or more of the Plaintiffs’ failure to

exhaust administrative remedies.

          4.     The State reserves the right to assert any other claims or defenses as may be

available or may become available during the course of these proceedings.


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                                   PRAYER FOR RELIEF

          Wherefore, the State prays for judgment and relief as follows:

  1.      That the Complaint be dismissed with prejudice on all claims asserted against

          all Defendants;

   2.     That the State be awarded all attorney’s fees and costs allowed by law;

   3.     That the State be awarded such other relief as the Court may deem just and

          proper.

        DATED:      March 16, 2021.

                                         TREG R. TAYLOR
                                         ATTORNEY GENERAL


                                         By:    /s/Mary Hunter Gramling
                                                Mary Hunter Gramling
                                                Assistant Attorney General
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                             CERTIFICATE OF SERVICE

      I hereby certify that on March 16, 2021, a copy of the foregoing was served on all

registered parties via the CM/ECF electronic distribution system.


                                                /s/ Mary Hunter Gramling
                                                Mary Hunter Gramling
                                                Assistant Attorney General
                                                Attorney for the State of Alaska




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